                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA                 )
                                         )
            v.                           ) CASE NO. DNCW3:04CR33-2
                                         ) (Financial Litigation Unit)
ERIC PYATT,                              )
                                         )
and                                      )
                                         )
INGERSOLL RAND FINANCIAL SERVICES CORP., )
               Garnishee.                )

                        ORDER OF CONTINUING GARNISHMENT

       THIS MATTER is before the Court on the answer of Ingersoll Rand Financial Services

Corp., as Garnishee. On April 4, 2005, the Honorable Judge Lacy H. Thornburg sentenced the

defendant to 37 months of incarceration for his conviction of Defrauding the United States,

Identification Documentation fraud, Credit Card fraud, Mail fraud and Bank fraud in violation of

18 U.S.C. §§371, 1028, 1029, 1341 and 1344. Judgment in the criminal case was filed on April 27,

2005. As part of that Judgment, the defendant was ordered to pay an assessment of $700.00 and

restitution of $101,470.99 to the victims of the crime. Id.

       On May 25, 2011, the Court entered a Writ of Continuing Garnishment ("Writ") to

Garnishee, Ingersoll Rand Financial Services Corp., ("Garnishee"). The United States is entitled

to a wage garnishment of up to 25% of net income and has satisfied the prerequisites set forth in 15

U.S.C. §1673. Defendant was served with the writ of garnishment on June 1, 2011, and Garnishee

was served on May 31, 2011. Garnishee filed an Answer on June 21, 2011, stating that at the time

of the service of the Writ, Garnishee had in their custody, control or possession property or funds

owned by the debtor, including non-exempt, disposable earnings.

       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby




   Case 3:04-cr-00033-MOC-DCK              Document 118        Filed 07/26/11      Page 1 of 2
ENTERED in the amount of $96,842.99 computed through May 24, 2011. Garnishee will pay the

United States up to 25% of Defendant's net earnings which remain after all deductions required by

law have been withheld and 100% of all 1099 payments, and Garnishee will continue said payments

until the debt to the plaintiff is paid in full or until Garnishee no longer has custody, possession or

control of any property belonging to Defendant or until further Order of this court.

       Payments should be made payable to the United States Clerk of Court and mailed to the

Clerk of the United States District Court, 401 West Trade Street, Charlotte, NC 28202. In order to

ensure that each payment is credited properly, the following should be included on each check:

Court Number DNCW3:04CR33-02.

       The plaintiff will submit this debt to the Treasury for inclusion in the Treasury Offset

Program. Under this program, any federal payment the defendant would normally receive may be

offset and applied to this debt.

                                                  Signed: July 26, 2011




   Case 3:04-cr-00033-MOC-DCK               Document 118         Filed 07/26/11      Page 2 of 2
